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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

                                 CASE NO. 8:17-cv-3066-T-35TGW



   CHERYL STAPLE,

          Plaintiff/Counter-Defendant,

   v.

   NORTHWESTERN MUTUAL
   LIFE INSURANCE COMPANY,

          Defendant/Counter-Plaintiff.
                                                  /

               DEFENDANT’S TRIAL EXHIBIT AND DEMONSTRATIVE LIST

          Defendant/Counter-Plaintiff, The Northwestern Mutual Life Insurance Company

   (“Defendant/Counter-Plaintiff”), respectfully submits its preliminary Trial Exhibit List.

          By listing these exhibits herein, Defendant/Counter-Plaintiff does not waive its objections

   to the use of such exhibits by Plaintiff/Counter-Defendant, Cheryl Staple. Further, Defendants

   reserve the right to supplement and amend their Trial Exhibit List upon notice to Plaintiff/Counter-

   Defendant, in accordance with the Federal Rules of Civil Procedure.



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                                                                                     CASE NO. 8:17-cv-3066-T-35TGW


                                                                1
           DATE                                 OBJECTIONS/
NO.                      DATE                                         DATE                  DESCRIPTION OF EXHIBITS
        IDENTIFIED                   WITNESS
                       ADMITTED                    STIPULATED
                                                   ADMISSIONS
                                               A                    03/19/2015   The Northwestern Mutual Life Insurance
                                                                                 Company Estate Whole Life Policy No. 21 144
1.                                                                               517, and amendments, riders, applications,
                                                                                 delivery receipts or supplements thereto
                                                                                 pertaining to Desmond Staple
                                               A                    03/19/2015   The Northwestern Mutual Life Insurance
                                                                                 Company Term Life Policy No. 21 144 525, and
2.                                                                               amendments, riders, applications, delivery
                                                                                 receipts or supplements thereto pertaining to
                                                                                 Desmond Staple
                                               A                    05/19/2015   The Northwestern Mutual Life Insurance
                                                                                 Company Term Life Policy No. 21 200 595, and
3.                                                                               amendments, riders, applications, delivery
                                                                                 receipts or supplements thereto pertaining to
                                                                                 Desmond Staple
                                               Lack of              08/10/2015   The Northwestern Mutual Life Insurance
                                               Relevance                         Company Term Life Policy No. 21 316 990,
4.                                                                               and amendments, riders, applications, delivery
                                                                                 receipts or supplements thereto pertaining to
                                                                                 Desmond Staple
                                               Lack of              03/19/2015   Individual Life Insurance Application to The
                                               Relevance                         Northwestern Mutual Life Insurance Company
5.                                                                               and all supplements, amendments and parts
                                                                                 thereof pertaining to Desmond Staple
                                               Lack of              03/19/2015   Individual Life Insurance Application to The
                                               Relevance                         Northwestern Mutual Life Insurance Company
6.                                                                               and all supplements, amendments and parts
                                                                                 thereof pertaining to Desmond Staple
                                               Lack of              05/03/2015   Individual Life Insurance Application to The
                                               Relevance                         Northwestern Mutual Life Insurance Company
7.                                                                               and all supplements, amendments and parts
                                                                                 thereof pertaining to Desmond Staple
                                               Lack of              08/10/2015   Individual Life Insurance Application to The
                                               Relevance                         Northwestern Mutual Life Insurance Company
8.                                                                               and all supplements, amendments and parts
                                                                                 thereof pertaining to Desmond Staple
                                               Lack of              09/29/2004   Life and Disability Income Insurance Co
9.                                             Relevance                         Application of Desmond Staple to IDS Life
                                                                                 Insurance Company
                                               Lack of              11/26/2004   IDS Life Insurance Company (RiverSource)
10.                                            Relevance                         Flexible Premium Variable Life Insurance
                                                                                 Policy **2561 pertaining to Desmond Staple
                                               Lack of              01/07/2010   Correspondence from Kendall M. Nygard at
                                               Relevance                         Ameriprise Financial (Riversource Life
11.                                                                              Insurance Company) to Desmond Staple
                                                                                 regarding Policy Loan




                  1 Type “A” in this column to identify exhibits to be received in evidence by agreement, otherwise, specifically

         state each objection to each opposed exhibit.



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                                                         1
         DATE                            OBJECTIONS/
NO.                  DATE                                      DATE                   DESCRIPTION OF EXHIBITS
      IDENTIFIED              WITNESS
                   ADMITTED                 STIPULATED
                                            ADMISSIONS
                                        Lack of               02/2012     E-mails between Desmond Staple and Sandy
12.                                     Relevance,                        Nolan at Travelers regarding settlement on the
                                        Lack of                           Lawunda Blake Case
                                        Foundation,
                                        Improper
                                        Character
                                        Evidence
                                        Lack of              10/16/2014   Correspondence from Jodi Anderson
13.                                     Relevance,                        Thompson-The Florida Bar to Desmond H.
                                        Improper                          Staple re: complaint
                                        Character
                                        Evidence
                                        Lack of              01/12/2015   E-mail from Eric Fleming to Aubrey Rosser re:
14.                                     Relevance                         Cheryl Staple Call Notes
                                        Lack of              01/25/2015   Email between Desmond Staple and Cheryl
15.                                     Relevance                         Staple re: additional funds
                                                             03/03/2015   E-mail from Eric Fleming with subject re:
16.                                                                       March 3 phone call with Cheryl Staple
                                        Lack of              04/30/2015   E-mail chain (NML’s Response to Plaintiff’s
17.                                     Relevance            05/01/2015   First RFP, 4676)
                                        Improper             05/06/2015   Petition for Disciplinary Revocation in the case
                                        Character                         of The Florida Bar v. The Petition for
18.                                     Evidence                          Disciplinary Revocation of Desmond H. Staple,
                                                                          Supreme Court of Florida, The Florida Bar File
                                                                          No. 2015-10,900 (13F) HDR
                                        Hearsay,             05/12/2015   Correspondence from George Tsafaridis at
                                        Relevance                         Ameriprise to Desmond H. Staple regarding
19.                                                                       lapse on RiverSource Life Insurance Company
                                                                          policy
                                        Hearsay,              07/2015     E-mails between Cheryl Staple and Aubrey
20.                                     Relevance                         Rosser, Eric Fleming and Sarah Williams with
                                                                          attached policy
                                        Hearsay,              07/2015     E-mail chain and attachments (NML’s Response
21.                                     Relevance                         to Plaintiff’s First RFP, 3970-3975)
                                        Improper             07/09/2015   Supreme Court Order in the Supreme Court of
22.                                     Character                         Florida Case NO. SC15-857, In Re: Petition for
                                        Evidence                          Disciplinary Revocation of Desmond H. Staple
                                        Hearsay              07/09/2015   E-mail from Eric Fleming with subject re:
23.                                                          07/10/2015   Meeting notes on July 9th
                                        Hearsay              07/27/2015   E-mail to Aubrey Rosser, Sara Williams re:
24.                                                                       check from Cheryl Staple for $100,000.00
                                        Lack of               08/2015     E-mails between Aubrey Rosser and Desmond
25.                                     Relevance                         and Cheryl Staple re: underwriting questions
                                        Lack of               08/2015     E-mails re: quick follow up underwriting
26.                                     Relevance                         questions
                                        A                    08/04/2015   Application for Lease Contract for Desmond H.
27.                                                                       Staple, Esq./ Closa, LLC d/b/a Mama Winnie’s
                                                                          Caribbean Kitchen
                                        A                    08/12/2015    Shopping Center Lease Claim and all
                                                                          amendments, supplements, exhibits and
28.                                                                       attachments thereto between Closa, LLC and
                                                                          Victoria Properties of Tampa, Inc.
                                        Hearsay              08/13/2015   E-mail chain
29.

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                                       08/17/2015   E-mail chain (Northwestern’s Response to
30.                                     01/2016     Plaintiff’s First Request for Production, 4638-
                                                    4639)




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                                                                            CASE NO. 8:17-cv-3066-T-35TGW


                                                       1
         DATE                            OBJECTIONS/
NO.                  DATE                                    DATE                   DESCRIPTION OF EXHIBITS
      IDENTIFIED              WITNESS
                   ADMITTED               STIPULATED
                                          ADMISSIONS
                                        Hearsay            08/17/2015   E-mail chain (Northwestern’s Response to
31.                                                                     Plaintiff’s First Request for Production, 004637)
                                        Lack of            08/26/2015   E-mails between Cheryl Staple and Rayani
32.                                     Relevance          08/27/2015   Karim and filing of Law Office of Desmond
                                                                        Staple 2014 business tax return
                                        Hearsay             10/2015     Text messages between Desmond Staple and
33.                                                                     Sharon Unruh and directed to Eric Unruh
                                        Lack of            10/08/2015   Policy Application Supplement for Term Life
34.                                     Relevance                       Insurance Policy to The Northwestern Mutual
                                                                        Life Insurance Company
                                        Improper           10/16/2015   Veronica Burianek Inquiry – Complaint Form to
35.                                     Character                       The Florida Bar re: Desmond H. Staple
                                        Evidence,
                                        Lack of
                                        Relevance
                                        Improper            12/2015     E-mails between Julia Pinnell and John
36.                                     Character                       Andreopolous, Esquire
                                        Evidence,
                                        Lack of
                                        Relevance
                                        Improper           12/07/2015   Correspondence from Julia Pinnell to John D.
                                        Character                       Andreopolous, Esquire re: correspondence from
37.                                     Evidence,                       The Staple Law Group o/b/o Andrea Grose
                                        Lack of                         dated 11/23/2015
                                        Relevance
                                        Hearsay            12/07/2015   E-mails between Elaine Olson and Cheryl
38.                                                                     Staple
                                        Hearsay            12/07/2015   E-mails between Elaine Olson and Cheryl
39.                                                                     Staple
                                        Hearsay, Lack      12/15/2015   Correspondence from Berkeley Preparatory
40.                                     of Foundation                   School to Desmond and Cheryl Staple re: past
                                        -                               due account
                                        authentication
                                        Improper           12/29/2015   Julia Pinnell, Esq. Inquiry – Complaint Form to
41.                                     Character                       The Florida Bar re: Desmond H. Staple
                                        Evidence,
                                        Hearsay
                                        Hearsay            01/04/2016   E-mails between Desmond Staple and Cheryl
42.                                                                     Staple re: additional loan
                                        Improper           01/05/2016   Correspondence from The Florida Bar to
43.                                     Character                       Desmond H. Staple re: Complaint of Veronica
                                        Evidence                        Burianek
                                        Improper           01/05/2016   Correspondence from The Florida Bar to
44.                                     Character                       Desmond H. Staple re: Complaint of Julia
                                        Evidence                        Mathieson Pinnell
                                        Hearsay, Lack      01/06/2016   Berkeley Preparatory School Statement to
45.                                     of Foundation                   Desmond and Cheryl Staple
                                        -
                                        authentication
                                        Hearsay, Lack      01/12/2016   E-mail from Berkeley Preparatory School to
46.                                     of Foundation                   Desmond and Cheryl Staple re: past due account
                                        -
                                        authentication
                                        Hearsay, Lack      01/15/2016   Correspondence from Berkeley Preparatory
47.                                     of Foundation                   School to Desmond and Cheryl Staple re: past
                                        -                               due account and invoice
                                        authentication

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                                                               CASE NO. 8:17-cv-3066-T-35TGW

                             Improper         01/20/2016   Correspondence from Desmond H. Staple
48.                          Character                     responding to letter from The Florida Bar re:
                             Evidence                      Complaint of Veronica Burianek
                             Hearsay          01/22/2016   Law Office of Desmond H. Staple, PA check to
49.                                                        Wilbert Desir in the amount of 13,500.00
                             Lack of          01/26/2016   Promissory Note between Evins Trajean and
50.                          Foundation -                  Desmond H. Staple
                             authentication
                             Lack of          01/29/2016   Berkeley Preparatory School Statement to
51.                          Foundation -                  Desmond and Cheryl Staple
                             authentication




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                                                                              CASE NO. 8:17-cv-3066-T-35TGW


                                                         1
         DATE                            OBJECTIONS/
NO.                  DATE                                      DATE                   DESCRIPTION OF EXHIBITS
      IDENTIFIED              WITNESS
                   ADMITTED                 STIPULATED
                                            ADMISSIONS
                                        Hearsay              02/02/2016   Emails between Desmond Staple and Cheryl
52.                                                                       Staple re: request for funds
                                        Hearsay, Lack        02/10/2016   E-mail from Berkeley Preparatory School to
53.                                     of Foundation                     Desmond and Cheryl Staple re: past due account
                                        -
                                        authentication
                                         A                   02/19/2016   Emails between Darby Hamilton, Aubrey
54.                                                          02/22/2016   Rosser and Cheryl Staple re: transfer of funds
                                        Hearsay, Lack        02/21/2016   Promissory Note between David Franklin
                                        of Foundation                     Vining and Desmond H. Staple, Closa, LLC
55.                                     -authentication                   d/b/a Mam Winnie’s Caribbean Kitchen and/or
                                                                          The Staple Group
                                        A                    02/26/2016   Emails between Cheryl Staple and Desmond
56.                                                                       Staple re: debt and funds
                                        Lack of               03/2016     Texts between Desmond Staple (Cellular
57.                                     Foundation -                      Phone) and Evins Trajean
                                        authentication
                                        Lack of               03/2016     Evins Trajean request to Desmond H. Staple for
58.                                     Foundation -                      Second Promissory Note
                                        authentication
                                         A                   03/01/2016   E-mails between Cheryl Staple and Desmond
59.                                                                       Staple
                                         Lack of              03/2016     Summary of Calls and Texts between Cheryl
60.                                     Foundation -                      Staple and Desmond Staple (from AT&T
                                        authentication                    records)
                                         Lack of              03/2016     Summary of Calls and Texts between Cheryl
61.                                     Foundation -                      Staple and Desmond Staple taken from Cheryl
                                        authentication                    Staple Phone Logs
                                        Hearsay               03/2016     Summary of Calls and Texts between Cheryl
62.                                                                       Staple and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Desmond
63.                                                                       Staple and Daughter’s Phone
                                        Hearsay               03/2016     Summary of Calls and Texts from Daughter’s
64.                                                                       phone re: Desmond Staple (from AT&T
                                                                          records)
                                        Hearsay               03/2016     Summary of Calls and Texts between Home
65.                                                                       Phone and Desmond Staple Phone
                                        Hearsay               03/2016     Summary of Calls and Texts between
66.                                                                       Daughter’s phone and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Desmond
67.                                                                       Staple and Sharon Unruh
                                        Hearsay              10/2015 –    39 pages of Text messages between Desmond
68.                                                           03/2016     Staple and Sharon Unruh
                                        Hearsay               03/2016     Summary of Calls and Texts between Desmond
69.                                                                       Staple and Sharon Unruh
                                        Hearsay               03/2016     Summary of Calls and Texts between Desmond
70.                                                                       Staple and Sharon Unruh
                                        Hearsay               03/2016     Summary of Calls and Texts between Desmond
71.                                                                       Staple and Sharon Unruh
                                        Hearsay               03/2016     Summary of Calls and Texts between Eric
72.                                                                       Unruh and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Rudy
73.                                                                       Simpson and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Text Messages between
74.                                                                       Rudy Simpson and Desmond Staple
                                                                7
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                                                                              CASE NO. 8:17-cv-3066-T-35TGW


                                                         1
         DATE                            OBJECTIONS/
NO.                  DATE                                      DATE                   DESCRIPTION OF EXHIBITS
      IDENTIFIED              WITNESS
                   ADMITTED                 STIPULATED
                                            ADMISSIONS
                                        Hearsay               03/2016     Summary of Calls and Texts between Rudy
75.                                                                       Simpson and Cheryl Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Rudy
76.                                                                       Simpson and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Cheryl
77.                                                                       Staple and Rudy Simpson
                                        Hearsay               03/2016     Summary of Calls and Texts between Joy
78.                                                                       Faulkner Staple and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Joy
79.                                                                       Faulkner Staple and Cheryl Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Joy
80.                                                                       Faulkner Staple and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between
81.                                                                       Charmaine (Lezonie) Burney and Desmond
                                                                          Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between
82.                                                                       Charmaine “Lezonie” Staple Burney and
                                                                          Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between
83.                                                                       Charmaine “Lezonie” Burney and Cheryl Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Eunice
84.                                                                       Wilson and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Wilbert
85.                                                                       Desir and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Bevan
86.                                                                       Staple and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Bevan
87.                                                                       Staple and Cheryl Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Bevan
88.                                                                       Staple and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Hopeton
89.                                                                       Staple and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Hopeton
90.                                                                       Staple and Cheryl Staple
                                        Hearsay               03/2016     Summary of text messages between Christopher
91.                                                                       Stafford and Desmond Staple
                                        Hearsay               03/2016     Summary of Calls and Texts between Desmond
92.                                                                       Stale and Lorena Valbuena
                                        A                     03/2016     Toxicology Summary Worksheet and attached
93.                                                                       documents
                                        Hearsay               03/2016     Contact Log – Death Investigator
94.
                                        A                    03/04/2016   Order of Notification re: Victoria Properties of
                                                                          Tampa, Inc. v. Closa, LLC , County Court for
95.                                                                       Hillsborough County, Florida, Case No. 16-
                                                                          006764
                                        A                    03/09/2016   Emails between Cheryl Staple, Elaine Olson and
96.                                                                       Jaime Boston re: information found online
                                                                          about Desmond Staple
                                        A                    03/11/2016   Emails between Cheryl Staple and Rayani
97.                                                                       Karim, Accountant re: Taxes



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                                                                               CASE NO. 8:17-cv-3066-T-35TGW


                                                          1
          DATE                            OBJECTIONS/
NO.                   DATE                                      DATE                   DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED                 STIPULATED
                                             ADMISSIONS
                                         Hearsay              03/14/2016   Hillsborough County Fire Rescue Paramedic
98.                                                           03/15/2016   Report and records regarding Desmond H.
                                                                           Staple
                                         A                    03/14/2016   Lee Baker, M.D./St. Joseph’s Hospital North
99.                                                                        History and Physical regarding Desmond Staple
                                         Hearsay              03/14/2016   Hillsborough County Sheriff’s Report re:
100.                                                                       Desmond Staple missing after argument about
                                                                           financial issues
                                         Prejudice            03/16/2016   St. Joseph’s Hospital – North Discharge
101.                                     Outweighs                         Summary – Death Summary re: Desmond H.
                                         Probative                         Staple
                                         Hearsay              03/16/2016   Hillsborough County Medical Examiner Initial
102.                                                                       Case Summary Report
                                         A                    03/18/2016   Emails between Cheryl Staple and Aubrey
103.                                                                       Rosser re: hiring Attorney and finding items in
                                                                           car
                                         Relevance            03/20/2016   Subpoena to Produce Documents in a Civil
104.                                                                       Action (Duces Tecum) directed to Joy Staple-
                                                                           Faulkner in this matter
                                         Relevance            03/20/2016   Subpoena to Testify at a Deposition (Duces
105.                                                                       Tecum) directed to Eunice Wilson in this matter
                                         Lack of              03/21/2016   Metadata of pictures of car
106.                                     Foundation -
                                         authentication
                                          A                   03/29/2016   Writ of Possession re: Victoria Properties of
                                                                           Tampa, Inc. v. Closa, LLC , County Court for
107.                                                                       Hillsborough County, Florida, Case No. 16-
                                                                           006764
                                         Hearsay              04/06/2016   Diligence International Group typed statement
108.                                                                       for Cheryl Staple (Unsigned)
                                         Hearsay,             04/12/2016   Selly Strauch Rivers, M.D. (Medical Examiner)
109.                                     Improper                          Summary and Opinion and Report of Diagnosis
                                         Opinion                           and Autopsy re: Desmond H. Staple
                                         Hearsay,             04/12/2016   Summary and Opinion – Medical Examiner –
110.                                     Improper                          Selly Strauch Rivers, M.D.
                                         Opinion
                                         Hearsay              04/12/2016   Medical Examiner - Pink Sheet
111.
                                         Prejudice            04/13/2016   Certification of Death
112.                                     outweighs
                                         Probative
                                         Hearsay              04/16/2016   Diligence International Group typed statement
113.                                                                       with edits and handwritten notes
                                         A                    04/29/2016   Berkeley Preparatory School Statement to
114.                                                                       Desmond and Cheryl Staple
                                         Relevance            05/23/2016   Correspondence from Kari Nelson to Corless
115.                                                                       Barfield Trial Group enclosing check for
                                                                           premiums paid re: Desmond Staple
                                         Relevance            05/23/2016   Correspondence from Keri Nelson at
116.                                                                       Northwestern Mutual to Corless Barfield Trial
                                                                           Group re: Desmond Staple
                                         Hearsay              05/2016 –    Text Messages between Cheryl Staple and
117.                                                           06/2016     Aubrey Rosser


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                                                                             CASE NO. 8:17-cv-3066-T-35TGW


                                                        1
          DATE                            OBJECTIONS/
NO.                   DATE                                    DATE                   DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED               STIPULATED
                                           ADMISSIONS
                                         Relevance           07/2016     E-mails between Cheryl Staple and Karim
118.                                                                     Rayani, Accountant
                                         Lack of            07/12/2016   Alliance Legal Solutions, LLC Statement of
                                         Foundation,                     Claim and all amendments, supplements,
                                         Hearsay                         exhibits and attachments thereto In Re: Estate of
119.                                                                     Desmond H. Staple, Circuit Court for
                                                                         Hillsborough County, Florida - Probate
                                                                         Division, File No. 16-CP-002101
                                         Relevance          07/20/2016   Emails between Cheryl Staple and Rayani
120.                                                                     Karim, Accountant re: Form 8857
                                         Lack of            07/26/2016   Farida Gonsalves Statement of Claim and all
                                         Foundation,                     amendments, supplements, exhibits and
                                         Hearsay                         attachments thereto filed In Re: Estate of
121.                                                                     Desmond H. Staple, Circuit Court for
                                                                         Hillsborough County, Florida - Probate
                                                                         Division, File No. 16-CP-002101
                                         Relevance          07/26/2016   E-mails between Cheryl Staple and Karim
122.                                                                     Rayani
                                         Lack of            09/12/2016   SunTrust Statement of Claim and all
                                         Foundation,                     amendments, supplements, exhibits and
                                         Hearsay                         attachments thereto In Re: Estate of Desmond
123.                                                                     H. Staple, Circuit Court for Hillsborough
                                                                         County, Florida - Probate Division, File No.
                                                                         16-CP-002101
                                         Relevance           09/2016 –   Emails between Cheryl Staple and Aubrey
124.                                                          10/2016    Rosser re: question
                                         Improperly         10-17-2016   CD of Documents sent to Vernard I. Adams,
125.                                     Identified and     Composite    M.D. from Corless Barfield Trial Group
                                         Marked
                                         Exhibit
                                         Lack of            11/02/2016   Alfred Smothers Statement of Claim and all
                                         Foundation,                     amendments, supplements, exhibits and
                                         Hearsay                         attachments thereto In Re: Estate of Desmond
126.                                                                     H. Staple, Circuit Court for Hillsborough
                                                                         County, Florida - Probate Division, File No.
                                                                         16-CP-002101
                                         Lack of            11/02/2016   Alfred Smothers Second Statement of Claim
                                         Foundation,                     and all amendments, supplements, exhibits and
                                         Hearsay                         attachments thereto In Re: Estate of Desmond
127.                                                                     H. Staple, Circuit Court for Hillsborough
                                                                         County, Florida - Probate Division, File No.
                                                                         16-CP-002101
                                         Lack of            11/22/2016   DRB Legal Funding LLC Statement of Claim
                                         Foundation,                     and all amendments, supplements, exhibits and
                                         Hearsay                         attachments thereto In Re: Estate of Desmond
128.                                                                     H. Staple, Circuit Court for Hillsborough
                                                                         County, Florida - Probate Division, File No.
                                                                         16-CP-002101
                                         Report of          11/30/2016   Vernard I. Adams, M.D. Report regarding
129.                                     Expert is                       Desmond H. Staple
                                         Hearsay
                                         A                  12/12/2016   Ted Corless, Esquire letter to Danielle Green,
130.                                                                     Esquire (Medical Examiner) re: Desmond H.
                                                                         Staple

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                                                          1
          DATE                            OBJECTIONS/
NO.                   DATE                                       DATE                    DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED                 STIPULATED
                                             ADMISSIONS
                                         A                    12/12/2016     Letter from Corless Barfield Trial Group to
131.                                                                         Danielle Green, Esquire
                                         Hearsay              12/28/2016     Record of Conversation with Ted Corless,
132.                                                                         Esquire and Medical Examiner
                                         Lack of              12/31/2016     Promissory Note between Wilbert Desir and
133.                                     Foundation,                         Desmond H. Staple
                                         Relevance
                                         A                    01/13/2017     E-mail – Danielle Green to Ted Corless
134.
                                         Lack of              02/01/2017     Evins Trajean Statement of Claim and all
                                         Foundation,                         amendments, supplements, exhibits and
                                         Relevance                           attachments thereto In Re: Estate of Desmond
135.                                                                         H. Staple, Circuit Court for Hillsborough
                                                                             County, Florida - Probate Division, File No.
                                                                             16-CP-002101
                                         Lack of              05/24/2017     Lawunda Blake Statement of Claim and all
                                         Foundation,                         amendments, supplements, exhibits and
                                         Relevance                           attachments thereto In Re: Estate of Desmond
136.                                                                         H. Staple, Circuit Court for Hillsborough
                                                                             County, Florida - Probate Division, File No.
                                                                             16-CP-002101
                                         Lack of              05/24/2017     Lawunda Blake Notice of Filing - Statement of
                                         Foundation,                         Claim and all amendments, supplements,
                                         Relevance                           exhibits and attachments thereto In Re: Estate
137.                                                                         of Desmond H. Staple, Circuit Court for
                                                                             Hillsborough County, Florida - Probate
                                                                             Division, File No. 16-CP-002101
                                         Relevance            10/04/2017 –   E-mails between Elaine Olson and Cheryl
138.                                                           10/05/2017    Staple
                                         Lack of               12/01/2017    E-mail – Underwriting Documentation Report
139.                                     Foundation,                         regarding Desmond Staple
                                         Relevance
                                         Hearsay              03/14/2016 –   Call-Text Log with Desmond Staple’s Phone
140.                                                           12/24/2017    3/14/2016 – 12/24/2017
                                         Improper              01/20/2018    Correspondence from Desmond H. Staple
141.                                     Character                           responding to letter from The Florida Bar re:
                                         evidence                            Complaint of Julia Mathieson Pinnell
                                         A                    03/23/2018     Cheryl Staple’s Responses and Objections to
142.                                                                         Northwestern’s First Request for Production
                                         A                    03/23/2018     Northwestern Mutual First Request for
143.                                                                         Production to Cheryl Staple
                                         Hearsay              May 2018       CD of Documents sent to Vernard I. Adams,
144.                                                          Composite      M.D. from Corless Barfield Trial Group
                                         A                    05/02/2018     Corless Barfield Trial Group letter to Dr.
145.                                                                         Vernard I. Adams enclosing CD of records and
                                                                             request for conference re: Desmond H. Staple
                                         A                    05/23/2018     Cheryl Staple’s Verified Answers and
146.                                                                         Objections to Northwestern’s First Set of
                                                                             Interrogatories
                                         Hearsay -            08/30/2018     Kennon Heard, M.D., Ph.D. Expert Report and
147.                                     Expert Report                       all supplements, amendments and parts thereof
                                         inadmissible                        pertaining to Desmond H. Staple
                                         Hearsay -            09/06/2018     Vernard I. Adams, M.D. Report regarding
148.                                     Expert Report                       Desmond H. Staple
                                         inadmissible
                                                                  11
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                                                          1
          DATE                            OBJECTIONS/
NO.                   DATE                                      DATE                   DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED                 STIPULATED
                                             ADMISSIONS
                                         A                    09/07/2018   Cheryl Staple’s Supplemental Rule 26 Initial
149.                                                                       Disclosures filed in this matter
                                         A                    09/14/2018   Cheryl Staple’s Amended Responses and
150.                                                                       Objections to Northwestern’s First Request for
                                                                           Production
                                         A                    09/18/2018   Cheryl Staple’s Notice of Serving Verified
151.                                                                       Amended Answers and Objections to
                                                                           Northwestern’s First Set of Interrogatories
                                         A                    10/12/2018   Victoria Properties of Tampa, Inc. Declaration
152.                                                                       of Custodian of Records and related records
                                         Relevance,           11/15/2018   Letter from Corless Barfield Trial Group to
153.                                     Improper                          John Meagher at Shutts & Bowen enclosing
                                         Impeachment                       Psychiatric Medical Records for Cheryl Staple
                                         Relevance             02/2019     E-mails between Cheryl Staple and Aubrey
154.                                                                       Rosser
                                         A                    03/13/2019   Stipulated Procedures and Search Terms for
155.                                                                       Electronically Stored Information (ESI) on
                                                                           Laptop and Mobile Phone filed in this matter
                                         A                    03/20/2019   Subpoena to Produce Documents, Information
156.                                                                       or Objects in a Civil Action directed to Rodolfo
                                                                           V. Simpson
                                         A                    03/20/2019   Subpoena to Produce Documents directed to
157.                                                                       Charmaine “Lezonie” Staple-Burney in this
                                                                           matter
                                         A                    04/03/2019   Return of Service for Subpoena to Produce
158.                                                                       Documents dated March 20, 2019 served on
                                                                           Rodolfo V. Simpson
                                         A                    04/22/2019   Cheryl Staples Amended Reponses to
159.                                                                       Northwestern’s Second Request for Production
                                         Lack of              05/02/2019   E-Hounds Report of Desmond Staple Laptop re:
160.                                     Personal                          03/23/2018 Access Date
                                         Knowledge;
                                         Lack of
                                         Foundation -
                                         authentication
                                         Lack of              05/02/2019   E-Hounds Report of Desmond Staple Laptop re:
161.                                     Personal                          08/22/2018 – 08/23/2018 Access Date
                                         Knowledge,
                                         Lack of
                                         Foundation -
                                         authentication
                                         Lack of              05/02/2019   2019-05-02 Bing Toolbar Search History.xlsx
162.                                     Personal
                                         Knowledge,
                                         Lack of
                                         Foundation -
                                         authentication
                                          A                   05/23/2019   E-mail from Robert Stines to mlamoureux and
163.                                                                       others
                                         A                    06/03/2019   Declaration of Authenticity and Accuracy of
164.                                                                       Records of Charmaine “Lezonie” Staple-Burney
                                         A                    06/06/2019   Declaration of Authenticity and Accuracy of
165.                                                                       Records of Joy Staple Faulkner in this matter.
                                         A                    06/07/2019   Subpoena to Produce Documents in a Civil
166.                                                                       Action (Duces Tecum) directed to Eric Unruh in
                                                                           this matter
                                                                 12
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                             A          06/07/2019   Subpoena to Produce Documents, Information
                                                     or Objects in a Civil Action (Duces Tecum)
167.                                                 directed to Sharon Unruh. in this matter and
                                                     attached Declaration
                            Relevance   06/08/2019   E-mail from Robert Stines to mlamoureux and
168.                                                 others




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                                                          1
          DATE                            OBJECTIONS/
NO.                   DATE                                       DATE                   DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED                 STIPULATED
                                             ADMISSIONS
                                         A                    06/10/2019    Subpoena to Produce Documents, Information
169.                                                                        or Objects in a Civil Action (Duces Tecum)
                                                                            directed to Lorena Valbuena. in this matter
                                         A                    07/03/2019    Re-Notice of Taking Deposition Duces Tecum
170.                                                                        directed to Lorena Valbuena in this matter
                                         A                    07/31/2019    Declaration of Authenticity and Accuracy of
171.                                                                        Records of Sharon Unruh
                                         A                    08/08/2019    Subpoena to Produce Documents, Information
                                                                            or Objects in a Civil Action (Duces Tecum)
172.                                                                        directed to Vernard I. Adams, M.D. in this
                                                                            matter
                                         Relevance            08/19/2019    E-mail from Robert Stines to Jake Monk
173.
                                         A                    08/22/2019    Return of Service for Subpoena served on
174.                                                                        Deanne West and attached Subpoena to Produce
                                                                            Documents in this matter
                                         A                    08/22/2019    Amended Notice of Taking Deposition Duces
175.                                                                        Tecum directed to Wilbert Desir in this matter
                                         A                    08/26/2019    E-mail from Vernard I. Adams, M.D. to Jake
176.                                                                        Monk transmitting additional documents
                                                                            responsive to Subpoena
                                         Relevance            08/26/2019    E-mail from Robert Stines to mlamoureux and
177.                                                                        others
                                         A                    09/04/2019    Cheryl Staple Errata Sheet for 11/16/2018
178.                                                                        Deposition
                                         A                    09/13/2019    E-mail from Corless Barfield Trial Group to
179.                                                                        Jake Monk regarding items provided to Dr.
                                                                            Fernandez
                                         A                    09/17/2019    Cheryl Staple’s Fourth Supplemental Rule 26
180.                                                                        Initial Disclosures in this matter
                                         A                     10/2019      Return of Service for Subpoena to Eunice
181.                                                                        Wilson in this matter
                                         A                    10/17/2019    Affidavit of Service for Subpoena served on
182.                                                                        Hopeton Staple in this matter
                                         A                    10/21/2019    Affidavit of Service for service of Subpoena on
183.                                                                        Bevan Staple in this matter
                                         Relevance             01/03/2020   Timothy J. Labecki Declaration and all exhibits
184.                                                          (Composite)   and parts thereof
                                         Hearsay               01/05/2020   Kennon Heard, M.D., Ph.D. Declaration in this
185.                                                                        case matter
                                         Improperly           Composite     Records from Social Security Administration
186.                                     identified and        Records
                                         marked exhibit
                                         Improperly           Composite     Records from The Florida Bar
187.                                     identified and        Records
                                         marked
                                         exhibit,
                                         Relevance,
                                         Prejudice
                                         Outweighs
                                         Probativeness,
                                         Improper
                                         Character
                                         Evidence


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                            Improperly       Composite   Documents, pleadings, transcripts, videotapes,
                            Identified and     Case      exhibits, records, correspondence, materials
                            Marked                       and/or other document pertaining to the case of
                            Exhibit,                     The Florida Bar v. The Petition for Disciplinary
188.                        Relevance,
                                                         Revocation of Desmond H. Staple, Supreme
                            Prejudice
                            Outweighs                    Court of Florida, The Florida Bar File No.
                            Probativeness,               2015-10,900 (13F) HDR, involving Desmond
                            Improper                     Staple,
                            Character
                            Evidence




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                                                                            CASE NO. 8:17-cv-3066-T-35TGW


                                                        1
          DATE                            OBJECTIONS/
NO.                   DATE                                    DATE                  DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED               STIPULATED
                                           ADMISSIONS
                                         Improperly         Composite   Documents, pleadings, transcripts, videotapes,
                                         Identified and       Case      exhibits, records, correspondence, materials
                                         Marked                         and/or other document pertaining to the
189.                                     Exhibit,                       Supreme Court of Florida Case NO. SC15-857,
                                         Relevance,
                                         Prejudice
                                                                        In Re: Petition for Disciplinary Revocation of
                                         Outweighs
                                                                        Desmond H. Staple,
                                         Probativeness,
                                         Improper
                                         Character
                                         Evidence
                                         Lack of             Undated    California Department of Insurance Company
190.                                     Foundation,                    Profile page for RiverSource Life Insurance
                                         Relevance                      Company (IDS Life Insurance Company)
                                         Improperly         Composite   Documents, pleadings, transcripts, videotapes,
                                         Identified and       Case      exhibits, records, correspondence, materials
                                         Marked                         and/or other document pertaining to In Re:
191.                                     Exhibit,                       Estate of Desmond H. Staple, Circuit Court for
                                         Relevance,
                                         Prejudice
                                                                        Hillsborough County, Florida - Probate
                                         Outweighs                      Division, File No. 16-CP-002101,
                                         Probativeness,
                                         Improper
                                         Character
                                         Evidence
                                         Improperly         Composite   Records from Lawunda Blake
192.                                     Identified and      Records
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly         Composite   Records from Evins Trajean
193.                                     Identified and      Records
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly         Composite   Records from David Franklin Vining
194.                                     Identified and      Records
                                         Marked
                                         Exhibit, Lack
                                         of Foundation,
                                         Hearsay
                                         Improperly          Undated    David Franklin Vining Statement of Claim and
                                         Identified and                 all amendments, supplements, exhibits and
                                         Marked                         attachments thereto In Re: Estate of Desmond
195.                                     Exhibit, Lack                  H. Staple, Circuit Court for Hillsborough
                                         of Foundation,
                                         Hearsay
                                                                        County, Florida - Probate Division, File No.
                                                                        16-CP-002101 or 16-CP 001841
                                         Lack of             Undated    Document starting Dear Dr. Nucci
196.                                     Foundation,                    Staple File 0004101
                                         Hearsay
                                         Lack of             Undated    Document starting “Dear Andy”
197.                                     Foundation,                    Staple Mail 00002673
                                         Hearsay
                                         Improperly         Composite   Records of Victoria Properties of Tampa, Inc.
198.                                     Identified and      Records
                                         Marked
                                         Exhibit, Lack
                                         of Foundation,
                                         Hearsay

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                            Lack of                      Affidavit in Proof of Claim and Non-Military
                            Foundation,                  Service (Tenant Eviction and/or Past Due Rents
                            Hearsay                      and Court Costs) re: Victoria Properties of
199.                                                     Tampa, Inc. v. Closa, LLC , County Court for
                                                         Hillsborough County, Florida, Case No. 16-
                                                         006764
                            Improperly       Composite   Documents, pleadings, transcripts, videotapes,
                            Identified and     Case      exhibits, records, correspondence, materials
                            Marked                       and/or other document pertaining to Victoria
200.                        Exhibit, Lack                Properties of Tampa, Inc. v. Closa, LLC ,
                            of Foundation,
                            Hearsay
                                                         County Court for Hillsborough County, Florida,
                                                         Case No. 16-006764,
                             A               Composite   Records from Florida Hospital Carrollwood re:
201.                                                     Desmond H. Staple
                            Hearsay,         Composite   Records from Hillsborough County Fire Rescue
202.                        Improperly                   re: Desmond H. Staple
                            Identified and
                            Marked
                            Exhibit,
                            Improper
                            Opinion
                            Hearsay,         Composite   Records from Hillsborough County Sheriff’s
203.                        Improperly                   Office re: Desmond H. Staple
                            Identified and
                            Marked
                            Exhibit,
                            Improper
                            Opinion




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                                                          1
          DATE                            OBJECTIONS/
NO.                   DATE                                       DATE                   DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED                 STIPULATED
                                             ADMISSIONS

                                                               Excerpts     St. Joseph’s Hospital Records re: Desmond H.
204.                                                                        Staple
                                         Improper             Composite     Records Hillsborough County Medical
205.                                     Opinion               Records      Examiner re: Desmond H. Staple
                                          A                   Photograph    Photograph of prescriptions for Desmond H.
206.                                                                        Staple
                                         Relevance,           Photograph    Photograph of Bible
207.                                     Prejudice
                                         Outweighs
                                         Probativeness
                                         Lack of              Photograph    Photograph of children’s toys/objects in car
208.                                     Foundation for
                                         Photographs -
                                         authentication
                                         Lack of              Photograph    Photograph of bag containing clothes re:
209.                                     Foundation for                     Desmond H. Staple
                                         Photographs -
                                         authentication
                                         Lack of              Photograph    Photograph of various objects including plastic
210.                                     Foundation for                     bottles, plastic bag and paper document
                                         Photographs -
                                         authentication
                                         Lack of               Composite    Photographs taken of vehicle and contents
211.                                     Foundation for       Photographs   regarding Desmond H. Staple
                                         Photographs -
                                         authentication
                                         Relevance,           Composite     Correspondence/Communication between
212.                                     Prejudice                          Corless Barfield Trial Group to Dr. Vernard I.
                                         Outweighs                          Adams
                                         Probative
                                         Relevance,           Composite     Vernard I. Adams, M.D. Abstract regarding
213.                                     Prejudice                          Staple matter
                                         Outweighs
                                         Probative
                                         Relevance               2016       Memo from Corless Barfield Trial Group
214.                                                                        Vernard I. Adams, M.D. regarding case
                                                                            summary (Corless Cover Letter)
                                         A                      Video       Video of Shutts & Bowen attorneys reviewing
215.                                                                        the contents of box found in Mercedes vehicle
                                                                            pertaining to Desmond H. Staple
                                         A                      Video       Video of Desmond H. Staple at Walmart Store,
216.                                                                        interior and parking lot
                                         A                    Photograph    Photograph of bags with prescription scripts and
217.                                                                        bottles
                                         A                    Photograph    Photograph of Walgreens Ibuprofen
218.                                                                        medicament container
                                         A                    Photograph    Photograph still from Walmart video of
219.                                                                        Desmond Staple purchasing a pair of shoes
                                         A                    Photograph    Photograph still from Walmart video of
220.                                                                        Desmond Staple purchasing a pair of pants
                                         A                    Photograph    Photograph still from Walmart video of
221.                                                                        Desmond Staple purchasing a shirt
                                         Relevance,           Photograph    Photograph of Bible in car
222.                                     Prejudice
                                         Outweighs
                                         Probativeness


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                                                               CASE NO. 8:17-cv-3066-T-35TGW

                            Lack of           Composite    49 Photographs taken of vehicle and contents
223.                        Authentication   Photographs   regarding Desmond H. Staple
                            Hearsay             2016       Vernard I. Adams, M.D. notes/opinion
224.                                                       regarding Desmond H. Staple
                            Lack of          Photograph    Photograph Image 0313.jpg of various objects
225.                        Authentication                 including plastic bottles, plastic bag and paper
                                                           document
                            Relevance,       Photograph    Photograph of Bible in car
226.                        Prejudice
                            Outweighs
                            Probativeness




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                                                                              CASE NO. 8:17-cv-3066-T-35TGW


                                                        1
          DATE                            OBJECTIONS/
NO.                   DATE                                     DATE                   DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED               STIPULATED
                                           ADMISSIONS
                                         Hearsay            Composite     Vernard I. Adams, M.D. updated file produced
227.                                                                      in response to Northwestern Mutual second
                                                                          subpoena
                                         Relevance             2016       IRS Form 8857 – Request for Innocent Spouse
228.                                                                      Relief Form for 2011 Tax Year
                                         Lack of             Composite    Photographs taken of vehicle and contents
229.                                     Authentication     Photographs   regarding Desmond H. Staple
                                         A                   Composite    Psychiatric Medical Records for Cheryl Staple
230.                                                          Records
                                         Relevance           Composite    Jaime Boston subpoena production Records
231.                                                          Records
                                                             Composite    7 Photographs depicting unknown woman
232.                                                        Photographs
                                         Lack of              eHounds     List of reports prepared by eHounds
233.                                     Foundation -        04/2019 –
                                         authentication       05/2019
                                         Lack of              eHounds     Excerpt from Section II Paragraph 3, Samsung
234.                                     Foundation-                      Galaxy S6 (Applications.)
                                         authentication
                                         Lack of             eHounds      Excerpt from “Complete File Listing” Showing
235.                                     Foundation -                     Computer was on after Desmond Staples’s
                                         authentication                   Death
                                         Lack of             eHounds      Keyword Analysis
236.                                     Foundation -
                                         authentication
                                         Lack of             eHounds      Excerpt of Google Searches
237.                                     Foundation -
                                         authentication
                                         Lack of             eHounds      Screenshots from Installed Programs
238.                                     Foundation -
                                         authentication
                                         Lack of             eHounds      Screenshots from Internet Explorer 10-11 Main
239.                                     Foundation -                     History
                                         authentication
                                         Lack of             eHounds      Screenshot from Internet Explorer Main History
240.                                     Foundation -
                                         authentication
                                         Lack of             eHounds      Internet Explorer Typed URLs
241.                                     Foundation -
                                         authentication
                                         Lack of             eHounds      Excerpt from LNK report
242.                                     Foundation -
                                         authentication
                                         Lack of             eHounds      Network Interfaces (Registry)
243.                                     Foundation -
                                         authentication
                                         Lack of             eHounds      Excerpt of Parsed Search Queries
244.                                     Foundation -
                                         authentication
                                         Lack of             eHounds      Excerpt of Shellbags (sorted by last explored
245.                                     Foundation -                     date)
                                         authentication
                                         Improperly          eHounds      All text messages – Redacted
246.                                     Identified and
                                         Marked
                                         Exhibit, Lack
                                         of Foundation
                                         -
                                                               20
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                                                              CASE NO. 8:17-cv-3066-T-35TGW

                            authentication,
                            Prejudice
                            Outweighs
                            Probativeness
                            Lack of           eHounds     List of Phone Numbers with Corresponding
247.                        Foundation -                  Total Number of Text Messages on Desmond
                            authentication                Staple’s Phone
                            Relevance          Simpson    Rodolfo Simpson Florida State Driver’s License
248.                                           License
                            Improperly        Composite   Subpoena production from Lawunda Blake
249.                        Identified and     Records
                            Marked
                            Exhibit,
                            Relevance




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                                                                                CASE NO. 8:17-cv-3066-T-35TGW


                                                          1
          DATE                            OBJECTIONS/
NO.                   DATE                                       DATE                   DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED                 STIPULATED
                                             ADMISSIONS
                                         Lack of          Composite         Photographs taken of vehicle and contents
250.                                     Authentication, Photographs        regarding Desmond H. Staple
                                         Improperly
                                         Identified and
                                         Marked
                                         Exhibit
                                         Lack of          Composite         Photographs taken of vehicle and contents
251.                                     Authentication, Photographs        regarding Desmond H. Staple
                                         Improperly
                                         Identified and
                                         Marked
                                         Exhibit
                                         Hearsay             NM             Company Comparison (Northwestern’s
252.                                                          Production    Response to Plaintiff’s First Request for
                                                                            Production, 4309-4313)
                                         Hearsay              Composite     Copy of production of documents pursuant to a
253.                                                           Records      nonparty subpoena (AR 1 – 514)
                                         Hearsay              Composite     Records from Hillsborough County Medical
254.                                                           Records      Examiner (Bates Labeled)
                                         Hearsay              Composite     Records from Hillsborough County Medical
255.                                                           Records      Examiner (No Bates)
                                         Improper             Composite     Opinion – Selly Strauch Rivers, M.D.
256.                                     Opinion,              Records
                                         Undesignated
                                         Expert Report,
                                         Expert Report
                                         as Hearsay
                                          A                     Rivers      Copy of Disposition of Toxic Drugs and
257.                                                                        Chemicals in Man
                                                                            DELETED EXHIBIT
258.
                                                                            DELETED EXHIBIT
259.
                                                                            DELETED EXHIBIT
260.
                                         A                    Composite     E-mails between Corless Barfield Trial Group
261.                                                           Lenchus      and Dr. Lenchus (Lenchus 1 – 91)
                                         Undesignated         Composite     Julia Pearson (Chief Forensic Toxicologist)
262.                                     Expert,               Records      Composite Records/File
                                         Hearsay
                                         Hearsay,             Composite     Composite Excerpt Records from Hillsborough
263.                                     Improper              Excerpts     County Fire Rescue and St. Joseph’s Hospital
                                         Opinion                            North Hospital
                                         Lack of               Composite    49 photographs of red Mercedes and its contents
264.                                     Authentication       Photographs   (Enlarged)
                                          A, subject to        Composite    Composite Excerpts of records from St.
265.                                     Hearsay as to          Excerpts    Joseph’s Hospital-North
                                         particular             Records
                                         statements
                                         Lack of                Excerpt     5 Excerpt Photographs of photographs or red
266.                                     Foundation -         Photographs   Mercedes and its contents
                                         Authentication
                                         Improperly           Composite     Subpoena production from Deanne West in this
267.                                     Identified and        Records      matter
                                         Marked
                                         Exhibit,
                                         Relevance

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                            Relevance         Diagram      Lorena Valbuena diagram of Deanne West’s
268.                                                       Office
                             A                Composite    18 Photographs of car contents that was
269.                                         Photographs   produced to Shutts & Bowen by Corless
                                                           Barfield Trial Group
                             A               Photograph    Photograph of bag containing prescriptions and
270.                                                       bottle
                            Lack of          Photograph    5 Photographs Excerpts of contents in Mercedes
271.                        Foundation -      Experts      Vehicle
                            Authentication
                                                           DELETED EXHIBIT
272.




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                                                                              CASE NO. 8:17-cv-3066-T-35TGW


                                                        1
          DATE                            OBJECTIONS/
NO.                   DATE                                    DATE                   DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED               STIPULATED
                                           ADMISSIONS
                                         Hearsay            Spreadsheet   Spreadsheet regarding Desmond Staple texts
273.                                                                      and internet searches
                                         Relevance          Composite     Deposition Exhibit for Tim Labecki
274.                                                         Binder 1     (09/26/2018); Debbie Luther (09/28/2018; and
                                                                          Kari Nelson (09/27/2018) Deposition
                                         Relevance          Composite     Deposition Exhibit for Tim Labecki
275.                                                         Binder 2     (09/26/2018); Debbie Luther (09/28/2018; and
                                                                          Kari Nelson (09/27/2018) Deposition
                                         Relevance          Composite     Deposition Exhibit for Tim Labecki
276.                                                         Binder 3     (09/26/2018); Debbie Luther (09/28/2018; and
                                                                          Kari Nelson (09/27/2018) Deposition
                                         Improperly         Composite
277.                                     Identified and      Records
                                                                          Records/Subpoena Production from Closa, LLC
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly         Composite     Records/Subpoena Production from David C.
278.                                     Identified and      Records      Dismuke, Esquire
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly         Composite     Records/Subpoena Production from The Florida
279.                                     Identified and      Records      Bar
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly                       Records/Subpoena Production from Florida
                                         Identified and
                                                            Composite
280.                                                         Records
                                                                          Department of State – General Counsel’s
                                         Marked                           Office
                                         Exhibit,
                                         Hearsay
                                         Improperly         Composite     Records/Subpoena Production from Victoria
281.                                     Identified and      Records      Properties LLC
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly         Composite     Records/Subpoena Production from Victoria
282.                                     Identified and      Records      Properties of Tampa, Inc.
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly         Composite     Records/Subpoena Production from Ameriprise
283.                                     Identified and      Records      Financial Services, Inc.
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly         Composite     Records/Subpoena Production from Bank of
284.                                     Identified and      Records      America Corporation
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly         Composite     Records/Subpoena Production from Bank of
285.                                     Identified and      Records      Tampa
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly         Composite     Records/Subpoena Production from SunTrust
286.                                     Identified and      Records      Bank
                                         Marked
                                                               24
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                                                             CASE NO. 8:17-cv-3066-T-35TGW

                            Exhibit,
                            Hearsay
                            Improperly       Composite   Records/Subpoena Production from Khan,
287.                        Identified and    Records    Arndt & Associates, PA
                            Marked
                            Exhibit,
                            Hearsay
                            Improperly       Composite   Records/Subpoena Production from
288.                        Identified and    Records    LegalZoom.com, Inc.
                            Marked
                            Exhibit,
                            Hearsay
                            Improperly       Composite   Records/Subpoena Production from Lawunda
289.                        Identified and    Records    Blake
                            Marked
                            Exhibit,
                            Hearsay
                            Improperly       Composite   Records/Subpoena Production from Patrick
290.                        Identified and    Records    Blake
                            Marked
                            Exhibit,
                            Hearsay
                            Improperly       Composite   Records/Subpoena Production from DRB Legal
291.                        Identified and    Records    Funding, LLC
                            Marked
                            Exhibit,
                            Hearsay
                            Improperly       Composite   Records/Subpoena Production from Evans
292.                        Identified and    Records    Trajean
                            Marked
                            Exhibit,
                            Hearsay
                            Improperly       Composite   Records/Subpoena Production from David
293.                        Identified and    Records    Franklin Vining
                            Marked
                            Exhibit,
                            Hearsay
                            Improperly       Composite   Records/Subpoena Production from Blue Cross
294.                        Identified and    Records    and Blue Shield of Florida
                            Marked
                            Exhibit,
                            Hearsay,
                            Relevance
                            Improperly       Composite   Records/Subpoena Production from Continental
295.                        Identified and    Records    Casualty Company
                            Marked
                            Exhibit,
                            Hearsay,
                            Relevance




                                                25
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                                                                            CASE NO. 8:17-cv-3066-T-35TGW


                                                        1
          DATE                            OBJECTIONS/
NO.                   DATE                                    DATE                 DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED               STIPULATED
                                           ADMISSIONS
                                         Improperly         Composite   Records/Subpoena Production from
296.                                     Identified and      Records    RiverSource Life Insurance Company
                                         Marked
                                         Exhibit,
                                         Hearsay,
                                         Relevance
                                         Improperly         Composite   Records/Subpoena Production from Jose
297.                                     Identified and      Records    Dominguez, Jr.
                                         Marked
                                         Exhibit,
                                         Hearsay,
                                         Relevance
                                         Improperly         Composite   Records/Subpoena Production from Fast Track
298.                                     Identified and      Records    Urgent Care Center
                                         Marked
                                         Exhibit,
                                         Hearsay,
                                         Relevance
                                         Improperly         Composite   Records/Subpoena Production from Donald F.
299.                                     Identified and      Records    Figliola, M.D.
                                         Marked
                                         Exhibit,
                                         Hearsay,
                                         Relevance
                                          A                 Composite   Records/Subpoena Production from Florida
300.                                                         Records    Hospital Carrollwood
                                         Improperly         Composite   Records/Subpoena Production from Florida
301.                                     Identified and      Records    Hospital Transplant Institute
                                         Marked
                                         Exhibit,
                                         Hearsay,
                                         Relevance,
                                         Prejudice
                                         Outweighs
                                         Probativeness
                                         Improperly         Composite   Records/Subpoena Production from Sunil
302.                                     Identified and      Records    Gupta, M.D.
                                         Marked
                                         Exhibit,
                                         Hearsay,
                                         Relevance
                                         Improperly         Composite   Records/Subpoena Production from
303.                                     Identified and      Records    Hillsborough County Fire Rescue
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly                     Records/Subpoena Production from Investigator
                                         Identified and     Composite
304.                                                         Records
                                                                        Sherry Filippone c/o Hillsborough County
                                         Marked                         Medical Examiner
                                         Exhibit,
                                         Hearsay,
                                         Improper
                                         Opinion
                                         Improperly         Composite   Records/Subpoena Production from Alejandra
305.                                     Identified and      Records    Kalik, M.D.
                                         Marked
                                         Exhibit,
                                         Hearsay,
                                         Relevance


                                                               26
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                                                             CASE NO. 8:17-cv-3066-T-35TGW

                            Improperly       Composite   Records/Subpoena Production from Edward B.
306.                        Identified and    Records    Kampsen, M.D.
                            Marked
                            Exhibit,
                            Hearsay,
                            Relevance
                            Improperly       Composite   Records/Subpoena Production from Jeremy F.
307.                        Identified and    Records    Kirtz, M.D.
                            Marked
                            Exhibit,
                            Hearsay,
                            Relevance
                            Improperly       Composite   Records/Subpoena Production from Memorial
308.                        Identified and    Records    Hospital of Tampa
                            Marked
                            Exhibit,
                            Hearsay,
                            Relevance
                            Improperly       Composite   Records/Subpoena Production from Lyle
309.                        Identified and    Records    Terrance Olson, M.D.
                            Marked
                            Exhibit,
                            Hearsay,
                            Relevance
                            Improperly       Composite   Records/Subpoena Production from Quest
310.                        Identified and    Records    Diagnostics, Inc.
                            Marked
                            Exhibit,
                            Hearsay,
                            Relevance
                            Improperly       Composite   Records/Subpoena Production from St. Joseph’s
311.                        Identified and    Records    Hospital North
                            Marked
                            Exhibit
                            Improperly       Composite   Records/Subpoena Production from Florida
312.                        Identified and    Records    Poison Information Center - Tampa
                            Marked
                            Exhibit,
                            Hearsay,
                            Relevance
                            Improperly       Composite   Records/Subpoena Production from Tampa
313.                        Identified and    Records    General Hospital
                            Marked
                            Exhibit,
                            Hearsay,
                            Relevance
                            Improperly       Composite   Records/Subpoena Production from TGH
314.                        Identified and    Records    Transplant & Specialty Services
                            Marked
                            Exhibit,
                            Hearsay,
                            Improper
                            Opinion,
                            Prejudice
                            Outweighs
                            Probativeness
                            Improperly       Composite   Records/Subpoena Production from TGMG
315.                        Identified and    Records    Carrollwood
                            Marked
                            Exhibit,
                            Hearsay
                            Improperly       Composite   Records/Subpoena Production from CVS
316.                        Identified and    Records    Pharmacy, Inc.
                            Marked
                                                27
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                                                             CASE NO. 8:17-cv-3066-T-35TGW

                            Exhibit,
                            Hearsay,
                            Relevance
                            Improperly       Composite   Records/Subpoena Production from Walgreens
317.                        Identified and    Records    Company
                            Marked
                            Exhibit,
                            Hearsay,
                            Relevance
                            Improperly       Composite   Records/Subpoena Production from Walmart
318.                        Identified and    Records    Supercenter – Tampa #5036
                            Marked
                            Exhibit,
                            Hearsay
                            Hearsay          Composite   Records/Subpoena Production from AT&T
319.                                          Records    National Compliance Center
                            Hearsay          Composite   Records/Subpoena Production from Atkins
320.                                          Records    North America




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                                                                            CASE NO. 8:17-cv-3066-T-35TGW


                                                        1
          DATE                            OBJECTIONS/
NO.                   DATE                                    DATE                 DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED               STIPULATED
                                           ADMISSIONS
                                         Improperly         Composite   Records/Subpoena Production from Berkeley
321.                                     Identified and      Records    Preparatory School, Inc.
                                         Marked
                                         Exhibit,
                                         Hearsay,
                                         Relevance
                                         Improperly         Composite   Records/Subpoena Production from
322.                                     Identified and      Records    Hillsborough County Sheriff
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Improperly         Composite   Records/Subpoena Production from Walmart,
323.                                     Identified and      Records    Inc.
                                         Marked
                                         Exhibit,
                                         Hearsay
                                         Relevance,         Composite   Records/Subpoena Production from EZCorp,
324.                                     Prejudice           Records    Inc. d/b/a Value Pawn & Jewelry
                                         Outweighs
                                         Probativeness
                                         Improperly         Composite   Records/Subpoena Production from Vernard I.
325.                                     Identified and      Records    Adams, M.D.
                                         Marked
                                         Exhibit,
                                         Hearsay
326.                                                                    DELETED EXHIBIT

327.                                                                    DELETED EXHIBIT

328.                                                                    DELETED EXHIBIT

329.                                                                    DELETED EXHIBIT
                                         Improperly         Composite   Records/Subpoena Production from Brian
330.                                     Identified and      Records    Boston
                                         Marked
                                         Exhibit
                                         Improperly         Composite   Records/Subpoena Production from Jaime
331.                                     Identified and      Records    Boston
                                         Marked
                                         Exhibit
                                         Improperly         Composite   Records/Subpoena Production from Charmaine
332.                                     Identified and      Records    “Lezonie” Staple Burney
                                         Marked
                                         Exhibit
                                         Improperly         Composite   Records/Subpoena Production from Errol
333.                                     Identified and      Records    Burney
                                         Marked
                                         Exhibit
                                         Improperly         Composite   Records/Subpoena Production from Joy Staple-
334.                                     Identified and      Records    Faulkner
                                         Marked
                                         Exhibit
                                         Improperly         Composite   Records/Subpoena Production from William
335.                                     Identified and      Records    Faulkner
                                         Marked
                                         Exhibit
                                         Improperly         Composite   Records/Subpoena Production from Elaine
336.                                     Identified and      Records    Olson Boston
                                                               29
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                                                             CASE NO. 8:17-cv-3066-T-35TGW

                            Marked
                            Exhibit
                            Improperly       Composite   Records/Subpoena Production from Rodolfo V.
337.                        Identified and    Records    Simpson
                            Marked
                            Exhibit
                            Improperly       Composite   Records/Subpoena Production from Bevan
338.                        Identified and    Records    Staple
                            Marked
                            Exhibit
                            Improperly       Composite   Records/Subpoena Production from Denise
339.                        Identified and    Records    Staple
                            Marked
                            Exhibit
                            Improperly       Composite   Records/Subpoena Production from Hopeton
340.                        Identified and    Records    Staple
                            Marked
                            Exhibit
                            Improperly       Composite   Records/Subpoena Production from Richard
341.                        Identified and    Records    Thompson
                            Marked
                            Exhibit
                            Improperly       Composite   Records/Subpoena Production from Winsone
342.                        Identified and    Records    Staple Thompson
                            Marked
                            Exhibit
                            Improperly       Composite   Records/Subpoena Production from Deanne Y.
343.                        Identified and    Records    West, Esquire/ The West Law Firm, P.A.
                            Marked
                            Exhibit
                            Improperly       Composite   Records/Subpoena Production from Aubrey J.
344.                        Identified and    Records    Rosser, III
                            Marked
                            Exhibit
                            Improperly       Composite   Records/Subpoena Production from Danielle
345.                        Identified and    Records    Green, Esquire/ Hillsborough County Attorney
                            Marked
                            Exhibit




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                                                                              CASE NO. 8:17-cv-3066-T-35TGW


                                                          1
          DATE                            OBJECTIONS/
NO.                   DATE                                      DATE                  DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED                 STIPULATED
                                             ADMISSIONS
                                         Improperly           Composite   Records/Subpoena Production from Mercedes
346.                                     Identified and        Records    Benz of Tampa
                                         Marked
                                         Exhibit
                                          A                               Records/Subpoena Production from Walter
                                                              Composite
347.                                                           Records
                                                                          Afield, M.D. and/or Neuropsychiatric Institute,
                                                                          LLC
                                         A                                Records/Subpoena Production from Jennifer
                                                              Composite
348.                                                           Records    Barror-Levine, Psy.D. and/or Neuropsychiatric
                                                                          Institute, LLC
                                         A                                Records/Subpoena Production from Sarah
                                                              Composite
349.                                                           Records
                                                                          Klein-Reid, ARNP, PMHNP-BC and/or
                                                                          Neuropsychiatric Institute, LLC
                                         A                    Composite   Records/Subpoena Production from Lisa Acker,
350.                                                           Records    LCSW and/or PPS Center for Counseling
                                         A                                Records/Subpoena Production from Sarah
                                                              Composite   Jessica Poblete, M.D. and/or Tampa General
351.                                                           Records    Medical Group (TGH Family Care Center
                                                                          Kennedy)
                                         Improperly           Composite   Tax returns, individual and/or corporate
                                         Identified and                   pertaining to Desmond H. Staple and/or Cheryl
                                         Marked                           Staple and/or any other corporation, company,
                                         Exhibit
352.                                                                      partnership, business entity or professional
                                                                          association that they currently own or
                                                                          previously owned or had any equity interest or
                                                                          relationship with
                                         Improperly           Composite   Non-Privileged portions of The Northwestern
                                         Identified and                   Mutual Life Insurance Company’s Claim File
                                         Marked                           and/or other files maintained by
353.                                     Exhibit                          Defendant/Counter-Plaintiff in its ordinary
                                                                          course of business and parts thereof, pertaining
                                                                          to Desmond and/or Cheryl Staple
                                         Improperly                       Non-Privileged portions of The Northwestern
                                         Identified and                   Mutual Life Insurance Company’s
354.                                     Marked               Composite
                                                                          Application/Underwriting File and parts thereof,
                                         Exhibit                          pertaining to Desmond and/or Cheryl Staple
                                         Improperly                       Documents produced by Plaintiff /Counter-
355.                                     Identified and       Composite   Defendant and/or representatives of same and/or
                                         Marked                           Defendant/Counter-Plaintiff
                                         Exhibit
                                         Improperly           Composite   Interrogatories and Answers thereto in this
356.                                     Identified and                   matter
                                         Marked
                                         Exhibit
                                         Improperly           Composite   Request for Production and Responses thereto
357.                                     Identified and                   in this matter
                                         Marked
                                         Exhibit
                                         Improperly           Composite   Request for Admissions and/or Answers to
358.                                     Identified and                   Request for Admissions pertaining to Cheryl
                                         Marked                           Staple
                                         Exhibit
                                         Improperly           Composite   Deposition transcripts and exhibits to those
359.                                     Identified and                   deposition transcripts and/or deposition video
                                         Marked                           footage taken in this matter
                                         Exhibit,

                                                                 31
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                                                             CASE NO. 8:17-cv-3066-T-35TGW

                            Hearsay


                            Improperly       Composite   Exhibits listed by Plaintiff/Counter-Defendant,
                            Identified and               except that by inclusion herein,
360.                        Marked                       Defendant/Counter-Plaintiff, does not waive
                            Exhibit                      its objections to any of Plaintiff/Counter-
                                                         Defendant’s listed exhibits




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                                                                                CASE NO. 8:17-cv-3066-T-35TGW


                                                          1
          DATE                            OBJECTIONS/
NO.                   DATE                                      DATE                    DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED                 STIPULATED
                                             ADMISSIONS
                                         Improperly           Composite     Exhibits necessary for impeachment or
361.                                     Identified and                     rebuttal purposes
                                         Marked
                                         Exhibit
                                         Hearsay,             Composite     Expert reports exchanged in this case,
362.                                     Improperly                         including all exhibits thereto
                                         Identified and
                                         Marked
                                         Exhibit
                                         Improperly           Composite     Demonstrative exhibits produced by any party.
363.                                     Identified and
                                         Marked
                                         Exhibit
                                          A                     Chart       Serum Acetaminophen Concentrations at
                                                                            Hospital Presentation for Patients with
364.                                                                        Unintentional
                                                                            Overdose, Deliberate Overdose, and
                                                                            Concentrations Obtained from Mr. Staple
                                         A                     Blank        Blank Calendars from 2014 to Present
365.                                                          Calendars
                                         A                     Image        Image of WalMart Receipt from Cheryl Staple’s
366.                                                                        Phone
                                         Lack of              Spreadsheet   Text Message Spreadsheet from eHounds of
367.                                     Foundation -                       text messages from Cheryl Staple’s Phone
                                         Authentication
                                         Improperly            Reports      Indexed Data Overview
368.                                     Identified and
                                         Marked
                                         Exhibit, Lack
                                         of Foundation
                                         -
                                         authentication,
                                         Hearsay
                                         Improperly            Reports      Keyword Analysis
369.                                     Identified and
                                         Marked
                                         Exhibit, Lack
                                         of Foundation
                                         -
                                         authentication,
                                         Hearsay
                                         Lack of               Reports      370-2019-04-19 Section II Paragraph 3
370.                                     Foundation -                       Samsung Galaxy S6 (Applications)
                                         authentication,
                                         Hearsay
                                         Lack of               Reports      371-2019-04-19 Section II Paragraph 3
371.                                     Foundation -                       Samsung Galaxy S6 (Social Media)
                                         authentication,
                                         Hearsay
                                         Lack of               Reports      372-2019-04-19 Section II Paragraph 4
372.                                     Foundation -                       Samsung Galaxy S6 (Text Messages)
                                         authentication,
                                         Hearsay
                                         Lack of               Reports      373-2019-04-19 Section II Paragraph 6 All User
373.                                     Foundation -                       Data
                                         authentication,
                                         Hearsay
                                         Lack of               Reports      374-2019-05-02 Android Downloads
374.                                     Foundation -
                                                                 33
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                                                            CASE NO. 8:17-cv-3066-T-35TGW

                            authentication,
                            Hearsay
                            Lack of           Reports   375-2019-05-02 Bing Toolbar - Search History
375.                        Foundation -
                            authentication,
                            Hearsay
                            Lack of           Reports   376-2019-05-02 Cloud Services URLs
376.                        Foundation -
                            authentication,
                            Hearsay
                            Lack of           Reports   377-2019-05-02 Complete File Listing
377.                        Foundation -
                            authentication,
                            Hearsay
                            Lack of           Reports   378-2019-05-02 Date Limited Keyword
378.                        Foundation -                Analysis
                            authentication,
                            Hearsay
                            Lack of           Reports   379-2019-05-02 Facebook URLs
379.                        Foundation -
                            authentication,
                            Hearsay
                            Lack of           Reports   380-2019-05-02 Google Drive
380.                        Foundation -
                            authentication,
                            Hesasay
                            Lack of           Reports   381-2019-05-02 Google Searches
381.                        Foundation -
                            authentication,
                            Hearsay
                            Lack of           Reports   382-2019-05-02 Google Toolbar
382.                        Foundation -
                            authentication,
                            Hearsay
                            Lack of           Reports   383-2019-05-02 Installed Microsoft Programs
383.                        Foundation -
                            authentication,
                            Hearsay
                            Lack of           Reports   384-2019-05-02 Installed Programs
384.                        Foundation -
                            authentication,
                            Hearsay




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                                                                            CASE NO. 8:17-cv-3066-T-35TGW


                                                        1
          DATE                            OBJECTIONS/
NO.                   DATE                                   DATE                   DESCRIPTION OF EXHIBITS
       IDENTIFIED              WITNESS
                    ADMITTED               STIPULATED
                                           ADMISSIONS
                                         Lack of            Reports     385-2019-05-02 Internet Explorer 10-11 Main
385.                                     Foundation -                   History
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     386-2019-05-02 Internet Explorer Main History
386.                                     Foundation -
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     387-2019-05-02 Internet Explorer Typed URLs
387.                                     Foundation -
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     388-2019-05-02 LNK Files
388.                                     Foundation -
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     389-2019-05-02 Network Interfaces (Registry)
389.                                     Foundation -
                                         authentication,
                                         Hearsay,
                                         Lack of            Reports     390-2019-05-02 Parsed Search Queries
390.                                     Foundation -
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     391-2019-05-02 Shellbags
391.                                     Foundation -
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     392-2019-05-02 USB Devices
392.                                     Foundation -
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     393-2019-05-15 All Text Messages - Redacted
393.                                     Foundation -
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     394-2019-05-15 Phone Search History Report
394.                                     Foundation -
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     395-2019-05-15 Phone Web History Report
395.                                     Foundation -
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     396-2019-05-28 Revised Keyword Analysis
396.                                     Foundation -
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     397-2019-06-08 Staple Privilege Log
397.                                     Foundation -
                                         authentication,
                                         Hearsay
                                         Lack of            Reports     398-2019-06-10 Amended 2019 Staple
398.                                     Foundation -                   Privilege Log
                                         authentication,
                                         Hearsay
                                         Relevance,         3/8/2019   Order [DE #94] Judicial Notice
399.                                     Prejudice
                                         outweighs
                                         Probative
                                                              35
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                                                                      CASE NO. 8:17-cv-3066-T-35TGW

                                      Value

                                      Relevance,     9/30/2019   Order [DE #237] Granting Recission Summary
400.                                  Prejudice                  Judgment
                                      outweighs
                                      Probative
                                      Value

               By listing these Exhibits herein, Defendant/Counter-Plaintiff, The Northwestern Mutual

       Life Insurance Company does not waive its objections to the use of such exhibits by

       Plaintiff/Counter-Defendant. Also, by listing composite exhibits, Defendant/Counter-Plaintiff

       reserves the right to use portions of those composites.

               Further, Defendant/Counter-Plaintiff, The Northwestern Mutual Life Insurance Company

       reserves the right to supplement and amend their Exhibit List upon notice to the parties in this

       action, in accordance with The Federal Rules of Civil Procedure.



                                                             Respectfully submitted,


                                                             SHUTTS & BOWEN LLP
                                                             Attorneys for Northwestern Mutual
                                                             200 South Biscayne Boulevard - Suite 4100
                                                             Miami, Florida 33131
                                                             Tel: (305) 358-6300
                                                             Fax: (305) 381-9982
                                                             By: /s/ John E. Meagher
                                                             John E. Meagher
                                                             Florida Bar No. 511099
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                                                             Jake Monk
                                                             Florida Bar No. 100321
                                                             jmonk@shutts.com



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